Case 2:20-cv-12880-JMV-JSA Document 79-20 Filed 04/22/21 Page 1 of 7 PageID: 1728




  Exhibit G-2
  Sahady Complaint Affidavit
Case 2:20-cv-12880-JMV-JSA Document 79-20 Filed 04/22/21 Page 2 of 7 PageID: 1729




                                     STATEMENT OF FACTS

           Your affiant is a Special Agent with the Federal Bureau of Investigation (“FBI”) assigned
  to the Boston Division, in Boston, Massachusetts. I have been employed in this capacity since
  October 27, 2019. I am currently assigned to the Domestic Terrorism squad of the FBI’s Boston
  Division. As an FBI Agent, I am responsible for the investigation of federal criminal offenses. I
  have participated in various investigations involving national security matters. I routinely work
  with agents, troopers, and officers with dozens of years of experience investigating crimes
  involving organized criminal groups and terrorist organizations. Before being employed as an FBI
  Agent, I served as a U.S. Customs and Border Protection Officer for over four years. I am assisting
  in the investigation and prosecution of events that occurred at the U.S. Capitol on January 6, 2021.

         The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is secured 24
  hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and
  temporary security barriers and posts manned by U.S. Capitol Police. Only authorized people with
  appropriate identification are allowed access inside the U.S. Capitol.

         On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
  the public.

          On January 6, 2021, a joint session of the United States Congress convened at the United
  States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
  elected members of the United States House of Representatives and the United States Senate were
  meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
  College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
  session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
  House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
  Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

         As the proceedings continued in both the House and the Senate, and with Vice President
  Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As
  noted above, temporary and permanent barricades were in place around the exterior of the U.S.
  Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
  from the Capitol building and the proceedings underway inside.

          At approximately 2:00 p.m., certain individuals in the crowd forced their way through, up,
  and over the barricades and officers of the U.S. Capitol Police, and the crowd advanced to the
  exterior façade of the building. The crowd was not lawfully authorized to enter or remain in the
  building and, prior to entering the building, no members of the crowd submitted to security
  screenings or weapons checks by U.S. Capitol Police Officers or other authorized security
  officials.

         At such time, the certification proceedings were still underway and the exterior doors and
  windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
  attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
  2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
Case 2:20-cv-12880-JMV-JSA Document 79-20 Filed 04/22/21 Page 3 of 7 PageID: 1730




  windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
  and assisted those acts.

          Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
  Representatives and United States Senate, including the President of the Senate, Vice President
  Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the
  United States Congress, including the joint session, were effectively suspended until shortly after
  8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to
  the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol
  without any security screening or weapons check, Congressional proceedings could not resume
  until after every unauthorized occupant had left the U.S. Capitol, and the building had been
  confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building had
  been secured. Vice President Pence remained in the U.S. Capitol from the time he was evacuated
  from the Senate Chamber until the session resumed.

          During national news coverage of the aforementioned events, video footage which
  appeared to be captured on mobile devices of persons present on the scene depicted evidence of
  violations of local and federal law, including scores of individuals inside the U.S. Capitol building
  without authority to be there.

          Open source information revealed that an individual named Mark Sahady (“SAHADY”) is
  the vice president of an organization called “Super Happy Fun America.” This organization, as
  stated on its own website at superhappyfunamerica.com, purports to be an advocate for the
  “straight community,” bearing the motto, “It’s Great to be Straight.”

          I located SAHADY’s Twitter account, where he uses the name “Mark Shady,” but
  identifies himself by location in Boston and affiliation with Super Happy Fun America. This
  biographical portion of the Twitter account is pasted below.




         I reviewed this Twitter account, which contains multiple statements evincing a belief that
  the 2020 election was stolen and that people need to gather in D.C. to respond to this theft on
  January 6, 2021. This includes the below posts, described as follows:
Case 2:20-cv-12880-JMV-JSA Document 79-20 Filed 04/22/21 Page 4 of 7 PageID: 1731




     a. On November 16, 2020, SAHADY writes that he was glad to be in D.C. the prior weekend
        and that if President-Elect Joe Biden won, he wanted to plan a rally to “oppose” Biden and
        “send a message” against tyranny.

     b. On December 20, 2020, SAHADY then posts specifically about January 6, 2021, stating
        that “it is important that millions of Americans show up in DC on January 6 to support the
        legitimate President, Donald Trump, and show Democrats what they will be facing if they
        continue to try and steal the Presidency.”

     c. When someone tweets at him asking about transportation, SAHADY responds on
        December 31, 2020 that “we have 7 buses coming.” And that there is more space.

     d. As January 6, 2021 approaches, SAHADY posts again on January 4, 2021, simply “January
        6 – Washington, DC – It begins.”




         Law enforcement also identified a Twitter account connected to Super Happy Fun
  America. A review of this account located a photograph posted on January 5, 2021, at 8:53 p.m.
  of SAHADY on a bus with other individuals putting their thumbs up. The caption reads “Bus 1
  of 11 coming to Washington DC. See you there!” From my review of publicly available
Case 2:20-cv-12880-JMV-JSA Document 79-20 Filed 04/22/21 Page 5 of 7 PageID: 1732




  information I know that SAHADY is the individual in the middle of the group wearing a grey shirt
  with a black and white collar. I also know that an individual, identified herein as “Known Person
  1” is the woman in blue standing to the right of SAHADY. Open source information revealed
  that Known Person 1 organized the buses to transport individuals to Washington, D.C., working
  with Super Happy Fun America.




       Notably, another tweet from this same account from December 29, 2020, stated that
  “SHFA will be in DC once again on January 6th to get wild.”

          Following the invasion of the Capitol, private individuals and the media began posting and
  identifying people who were at the riot and entered the Capitol building. One such photograph
  shows SAHADY and Known Person 1 standing together in the Capitol building during the
  invasion. The photograph appeared on a number of public forums, such as Twitter, as individuals
  worked successfully to identify SAHADY through other pictures and information.

          This identification was also reported on January 11, 2021, in the MetroWest Daily, placing
  SAHADY and Known Person 1 in the below photo. Based on my training and personal experience,
  I know this photo was taken inside the Capitol building based on the background and, specifically
  the decorative elements on the walls behind SAHADY. Based on my review of the evidence and
  law enforcement data to include government photographs of SAHADY, I can corroborate
  MetroWest’s identification, locating SAHADY pictured below, standing in the Capitol building in
  a red and blue hat next to Known Person 1:
Case 2:20-cv-12880-JMV-JSA Document 79-20 Filed 04/22/21 Page 6 of 7 PageID: 1733




         The article also identified SAHADY and Known Person 1 together in a photograph outside
  the Capitol, further confirming that the two individuals were traveling through D.C. together.




         Based on the foregoing, your affiant submits that there is probable cause to believe that
  SAHADY violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
  or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
  and with intent to impede or disrupt the orderly conduct of Government business or official
  functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
  building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
  of Government business or official functions; or attempts or conspires to do so. For purposes of
Case 2:20-cv-12880-JMV-JSA Document 79-20 Filed 04/22/21 Page 7 of 7 PageID: 1734
